Case 16-80161-JJG-7A             Doc 46       Filed 05/05/16        EOD 05/05/16 13:07:52             Pg 1 of 1

                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION


                                                     )
   In re                                             )     Chapter 11
                                                     )
   ERNIE D JOHNSON,                                  )     Case No. 16-80161-JJG-11
                                                     )
   Debtor(s)                                         )     BANKRUPTCY JUDGE
                                                     )     JEFFREY J GRAHAM

                REQUEST OF RECOVERY MANAGEMENT SYSTEMS CORPORATION
               FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

  PLEASE TAKE NOTICE that Recovery Management Systems Corporation, as authorized agent for

  Synchrony Bank (Home Design [Last four digit of account:0633]), a creditor in the above-captioned

  chapter 11 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure

  (the Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11

  U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given

  and all papers served or required to be served in this case be also given to and served, whether

  electronically or otherwise, on:
               Synchrony Bank
               c/o Recovery Management Systems Corporation
               25 SE 2nd Avenue, Suite 1120
               Miami, FL 33131-1605
               Telephone: (305) 379-7674
               Facsimile: (305) 374-8113
               E-mail: claims@recoverycorp.com


  Dated: Miami, Florida
  May 5, 2016
                                                         By: /s/ Ramesh Singh
                                                         Ramesh Singh
                                                         c/o Recovery Management Systems
                                                         Corporation
                                                         Financial Controller
                                                         25 SE 2nd Avenue, Suite 1120
                                                         Miami, FL 33131-1605
                                                         (305) 379-7674
  Assignee Creditor: Home Design [Last four digit of account:0633]
